                                                                                     05/13/2019


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  BRENNAN GILMORE et al.,             )
      Plaintiffs,                     )                 Civil Action No. 3:18-cv-00017
                                      )
  v.                                  )                 ORDER
                                      )
  ALEXANDER (“ALEX”) E. JONES et al., )                 By:     Joel C. Hoppe
      Defendants.                     )                         United States Magistrate Judge

         This matter is before the Court on a motion by Aaron J. Walker, Esq., to withdraw as

  counsel of record for Defendant Lee Stranahan. ECF No. 128. Counsel states that he and Mr.

  Stranahan have “mutually agreed to end their attorney-client relationship,” and that Mr.

  Stranahan “intends to retain new counsel” to represent him in this matter. The motion, ECF No.

  128, is GRANTED, and the Clerk is directed to terminate Mr. Walker as counsel of record for

  Defendant Lee Stranahan.

         If Mr. Stranahan chooses to retain new counsel, a licensed attorney must enter his or her

  appearance on Mr. Stranahan’s behalf in this matter. Counsel must be admitted to practice before

  the United States District Court for the Western District of Virginia. See W.D. Va. Gen. R. 6(a)–

  (d), (i). Mr. Stranahan is currently proceeding pro se, and, unless and until counsel enters an

  appearance on his behalf, Mr. Stranahan is solely responsible for conducting his defense in

  accordance with all rules, court orders, and deadlines in this case.

         It is so ORDERED.

                                                        ENTER: May 13, 2019



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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